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               24-CV-02755 (LDH) (VMS)

               UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF NEW YORK

               TIFFANY VESTERMAN,

                                                               Plaintiff,

                                       -against-

               THE DEPARTMENT OF EDUCATION OF THE CITY
               OF NEW YORK and DAVID C. BANKS, individually
               and as a Chancellor of the Department of Education of the
               City of New York,

                                                            Defendants.

               DEFENDANTS’ REPLY MEMORANDUM OF LAW
               IN SUPPORT OF DEFENDANTS’ MOTION TO
               DISMISS THE COMPLAINT


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                              Served November 4, 2024


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                                        PRELIMINARY STATEMENT

                   In Plaintiff’s Opposition to Defendants’ Motion to Dismiss (“Opposition” or

 “Opp.”), Plaintiff does not raise any colorable arguments to avoid dismissal. In addition to

 Plaintiff’s blatant procedural failures and improper inclusion of new claims and theories, Plaintiff

 fails to state a claim under any applicable statute. Accordingly, as discussed below and elaborated

 in Defendants’ initial moving papers, the Complaint should be dismissed in its entirety, with

 prejudice.

                                                    ARGUMENT1

                   Plaintiff’s reliance on Kane v. DeBlasio, 19 F.4th 152, 166 (2d Cir. 2021) for her

 as-applied2 Free Exercise claim3 is misguided. See Opp. at 3. Although the Court in Kane rejected

 plaintiffs’ facial challenge to the Vaccine Mandate,4 the Court concluded that the procedures in

 the Arbitration Award agreement were not neutral as applied to those plaintiffs. Kane, 19 F.4th at

 168; see also Opp. at 3. Here, Plaintiff fails to mention that the Court in Kane required the City to

 create a “a central citywide panel” to reconsider requests for religious accommodation, thus



 1
   As an initial matter, Plaintiff’s Opposition does not dispute the procedural failures outlined by Defendants in their
 Motion to Dismiss, which are fatal to Plaintiff’s Title VII, SHRL, and CHRL claims, thereby waiving those issues.
 See Dfts’ Mot. to Dismiss, Sections III-V. Failure to oppose specific arguments in a motion to dismiss results in waiver
 of those issues. See Doe v. Columbia Univ., 2022 U.S. Dist. LEXIS 176629, at *44 n.3 (S.D.N.Y. 2022) (citing Arista
 Recs., LLC v. Tkach, 122 F. Supp. 3d 32, 39 (S.D.N.Y. 2015).
 2
   Because Plaintiff’s Opposition states that “[t]he overall legality of the policy establishing a vaccination mandate for
 its employees, subject to religious or medical accommodations, is not in dispute,” Defendants consider any facial
 challenge to the Vaccine Mandate abandoned. Indeed, such challenge is foreclosed by Kane.
 3
   Plaintiff invokes First Amendment retaliation, for the first time, improperly, in opposition. See Opp. pgs. 1-2. “[A]
 plaintiff cannot amend its complaint by asserting new facts or theories for the first time in opposition to the defendant's
 motion to dismiss.” Pall Corp. v. Cleanspace Modular, LLC, 2023 U.S. Dist. LEXIS 201462, at *12 (S.D.N.Y. 2023)
 (internal quotations omitted).
 4
   In a paragraph discussing undue hardship and granting religious accommodations, Plaintiff nonsensically argues that
 because of the recent decision in Groff V. Dejoy, Postmaster General, 600 US 447 (2023), Kane should not apply,
 although it is unclear what part of Kane’s holding Plaintiff refers to. See Opp. at 2. Groff deals only with the “undue
 burden” standard for religious accommodations and does not opine on Free Exercise claims. See generally id. Courts
 in this Circuit have cited Groff when stating that permitting a teacher to work remotely would have been an undue
 burden. See Memorandum Decision and Order, Ruscelli v. The Department of Education of the City of New York,
 23-cv-07475 (AMD-LB), Dkt. 26, at 12 (E.D.N.Y. 2024) (citing Groff, 600 U.S. at 470).
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 remedying any “constitutionally suspect” procedures. Kane, 19 F.4th at 162; see also Dicapua v.

 City of N.Y., 2023 N.Y. Misc. LEXIS 13327, at *39 (Sup. Ct. Richmond Cnty. 2023) (“[s]uch

 constitutional relief was provided by order of the Second Circuit Motions Panel in requiring the

 Citywide Panel to provide fresh consideration to the Plaintiff applicants”) (internal quotations

 omitted). Critically, Plaintiff does not allege that she availed herself of this new constitutionally

 sound procedure.

                   Plaintiff maintains that her due process rights embedded in Education Law § 3020

 and § 3020-a were violated.5 However, in a recent decision dated October 17, 2024, the Court of

 Appeals affirmed that the procedures mandated by Education Law § 3020 and § 3020-a are not

 implicated in enforcement of the Vaccine Mandate. See Matter of O’Reilly v. Bd. of Educ. of the

 City Sch. Dist. of the City of N.Y., 2024 NY Slip Op 05130, ¶ 1 (2024). Further, Plaintiff’s

 allegation that she was “tagged” in a “problem code” is factually unsupported, contradicted by

 documentary evidence, and, in any event, “is insufficiently public to future potential employers to

 create a liberty interest and support a due process claim.”6 Valvo v. Dep’t of Educ. of N.Y., 2021

 U.S. Dist. LEXIS 51039, at *12 (S.D.N.Y. 2021) (internal quotations omitted) (collecting cases).7

                   In an attempt to bolster her failure to accommodate claims, Plaintiff newly asserts

 that Defendants did not engage in the mandated interactive process. However, the First Department

 found that the appeals process for exemptions from the Vaccine Mandate applicable to DOE

 employees satisfied the CHRL’s requirement to engage in a cooperative dialogue. See Matter of


 5
   It is well established that Educ. Law § 3020-A procedures are “more than adequate” to satisfy Due Process rights
 under the Fourteenth Amendment. Sullivan v. Bd. of Educ., 131 A.D.2d 836, 838 (2nd Dept. 1987); see also N.Y.
 Educ. Law § 3020.
 6
   Plaintiff’s inclusion of the standard for stigma plus constitutes a new legal theory or claim and is not permissible in
 Opposition. See Opp. at 8-9.
 7
   Even were such a “problem code” in Plaintiff’s record, any challenge to that record would need to be brought as an
 Article 78 proceeding, which would now be untimely. See McDermott v. Bd./Dept. of Educ. of the City of N.Y., 2024
 NY Slip Op 31713(U), ¶ 11 (Sup. Ct. N.Y. Cnty. 2024) (noting that the removal of a “problem code” falls within the
 scope of CPLR Article 78).


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 Lynch v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., 221 A.D.3d 456, 458 (1st Dept.

 2023). Further, Plaintiff’s allegation that she “received no alternative accommodation or option;

 she was put on leave without pay” (Opp. at 5), is patently untrue. The denial of Plaintiff’s religious

 exemption request8 included instructions for how to appeal the decision. See Dfts’ Mot. to Dismiss,

 Knutson Declaration at Ex. 3. Notwithstanding, Plaintiff does not allege that she filed an appeal,

 nor do DOE records indicate that Plaintiff filed an appeal. See generally Compl. By not doing so,

 Plaintiff herself abandoned the interactive process, precluding recovery. See Nugent v. St. Lukes-

 Roosevelt Hosp. Ctr., 303 F. App’x 943, 946 (2d Cir. 2008) (“[a]n employee who is responsible

 for the breakdown of that interactive process may not recover for a failure to accommodate.”).

 Each of Plaintiff’s claims are procedurally barred and substantively fail to state a claim, and as

 such, must be dismissed.9

                                                 CONCLUSION

                  For the foregoing reasons, Defendants respectfully request that the Motion to

 Dismiss the Complaint be granted in its entirety, with prejudice, that judgment in favor of

 Defendants be entered, and that Defendants be granted costs, fees, and expenses together with such

 other and further relief as the Court deems just and proper.

 Dated:           New York, New York
                  November 4, 2024




 8
   Despite Plaintiff’s unfounded statement that Defendants “never offered a single document or factual evidence that
 showed any effort towards accommodating Plaintiff ever took place” (Opp. at 7), the denial of Plaintiff’s
 accommodation request, attached to Defendants’ Motion to Dismiss, clearly states that Plaintiff’s application was
 reviewed and “failed to meet the criteria” because “unvaccinated employees cannot work in a school building without
 posing a direct threat to health and safety.” Dfts’ Mot. to Dismiss, Knutson Declaration at Ex. 3.
 9
   Although Plaintiff’s Opposition only mentions discrimination when discussing Plaintiff’s constitutional claims and
 failure to accommodate claims, to the extent Title VII, SHRL, and CHRL discrimination claims are not abandoned,
 such claims still fail to state a claim because Plaintiff continues to plead only conclusory allegations which cannot
 survive a motion to dismiss. See generally Opp.; see also Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “This Court
 may, and generally will, deem a claim abandoned when a plaintiff fails to respond to a defendant's arguments that the
 claim should be dismissed.” Lipton v. Cnty. of Orange, 315 F. Supp. 2d 434, 446 (S.D.N.Y. 2004).


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